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IN THE UNITED STATES DISTRICT coURT HLED BY -£Y’- D~C-
FOR THE wESTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 05 AUG -3 AH £‘lg 53

 

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wa atf §,§§ §§§§~§P+BS

DWAYNE MOSELEY,

Plaintiff,
V. NO. 05-2126 Ml/P
SBC COMMUNICATIONS, INC.,

Defendant.

 

ORDER OF DI SMI SSAL

 

Before the Court is the July' 29, 2005, Agreed. Motion to
Dismiss With Prejudice filed by the Plaintiff, Dwayne Moseley, and

Defendant, SBC Communications, Inc.

The parties having resolved their disputes and having agreed
that this cause should be dismissed with prejudice, it is hereby
ORDERED that this case be DISMISSED with prejudice. Each party

shall bear its Own costs.

ENTERED this ;;: day of August, 2005.

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JO PHIPPS MCCALLA
'I`ED STATES DISTRICT JUDGE

 

T‘nis document entered on the docks sh et in compliance
with Fiute 58 and/or 79(a) FRCP on % 51 25

 

thice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:05-CV-02126 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

ESSEE

 

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Honorable Jc)n McCalla
US DISTRICT COURT

